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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                January 25, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

JORGE DE LA GARZA,

Plaintiff,

v.
                                                               Civil Action No. 4:22-cv-4468
WELLS FARGO BANK, N.A.,

Defendant,

v.

MAXIEL DE LA GARZA

Third-Party Defendant/Necessary Party.


                                      FINAL JUDGMENT

        On this day, the Court determined it had jurisdiction over the subject matter and the

parties to this proceeding. After considering the Motion to Dismiss and Motion for Summary

Judgment filed by WELLS FARGO BANK, N.A. AS TRUSTEE FOR OPTION ONE

MORTGAGE LOAN TRUST 2007-FXD2 ASSET-BACKED CERTIFICATES, SERIES 2007-

FXD2 (“Wells Fargo”), the Court enters this Final Judgment. It is therefore,

        ORDERED, ADJUDGED AND DECREED that Wells Fargo, its successors and/or

assigns, shall be, and the same hereby is, hereby awarded, and this Judgment shall constitute, an

Order Authorizing Foreclosure and allowing the substitute trustee to foreclose on the real

property and improvements commonly known as 23806 Enchanted Crossing, Katy, Texas 77494

(the “Property”). The legal description for the Property is:

             LOT TWO (2), IN BLOCK TWO (2), OF SEVEN MEADOWS,
             SECTION SEVEN (7), A SUBDIVISION IN FORT BEND COUNTY,
             TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF,
             RECORDED UNDER SLIDE NO(S) 2317/B AND 2318/A OF THE
             PLAT RECORDS OF FORT BEND COUNTY, TEXAS.


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          IT IS FURTHER ORDERED that Wells Fargo, its successors and/or assigns, shall be,

and the same hereby is, authorized to conduct a non-judicial foreclosure sale of the Property

pursuant to the terms and conditions of the Security Instrument recorded under Instrument No.

2006147175 in the Fort Bend County Real Property Records in accordance with Tex. Prop. Code

§51.002 and with Tex. Const. Art. XVI §50(a)(6);

          IT IS FURTHER ORDERED that this Judgment serves as a Final in rem Judgment

against Jorge De La Garza and Maxiel De La Garza and Declaration of this Court Authorizing

Foreclosure of the subject Texas home equity Lien in accordance with Tex. Const. Art. XVI

§50(a)(6)(D);

          IT IS FURTHER ORDERED that Wells Fargo, its successors and/or assigns, shall file

a copy of this Judgment in the Fort Bend County Real Property Records within ten (10) days

after the entry of this Final in rem Judgment; however, failure to timely record this Judgment

shall not affect the validity of the foreclosure and defeat the presumption of Tex. Const. Art. XVI

§50(i);

          IT IS FURTHER ORDERED that if a person occupying the Property fails to surrender

possession of the premises after foreclosure, Wells Fargo, its successors and/or assigns, shall be

entitled to a Writ of Possession issued in accordance with Tex. R. Civ. P. 310;

          IT IS FURTHER ORDERED that Wells Fargo, its successors and/or assigns, is entitled

to all writs necessary to enforce this Judgment;

          IT IS FURTHER ORDERED that Wells Fargo, shall be, and the same hereby is,

awarded attorneys’ fees and costs incurred in defense of this litigation in the sum of $14,919.50,

which Wells Fargo may, at its sole discretion, assess to Plaintiff’s loan;




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      IT IS FURTHER ORDERED the claims asserted by Plaintiff Jorge De La Garza

against Wells Fargo shall be, and the same hereby are, DISMISSED with PREJUDICE.

      All relief not granted herein is denied.

      SIGNED this 25th day of January, 2024.



                                             __________________________________________
                                             THE HONORABLE CHARLES ESKRIDGE
                                             UNITED STATES DISTRICT JUDGE




ORDER PREPARED AT COURT’S REQUEST BY:

GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH
A Professional Law Corporation

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